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                                     UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OKLAHOMA


DOUGLAS MASTRIANO,
                                                    Plaintiff,
v.                                                                     Case No.: 5:24-cv-00567-F


ROLAND KUHN, et al.,
                                                Defendants.

                                             DISCLOSURE STATEMENT

“PARTY” DEFINED:     Within this form, the terms “party” and “parties” refer to any party, intervenor, or proposed intervenor
                     to this action.

Pursuant to Fed. R. Civ. P. 7.1 and LCvR7.1-1:

Jeff Brown
                                             [enter name of party on the line above]


who is a (check one) ☐ PLAINTIFF               ☒ DEFENDANT ☐ OTHER:

in this action, makes the following disclosures:

INSTRUCTIONS:       1.   Determine which part(s) of the form apply:
                          Part I is applicable in all cases and must be completed by all parties.
                          Part II is applicable in all cases and must be completed by all nongovernmental parties that are not
                             natural persons.
                    2.   Check the applicable box or boxes, and fully provide any required information.
                    3.   Attach separate pages as necessary to fully provide required information.

      PART I

☒     This party is an individual who is a citizen of the state of __Canada_____________.

☐     This party is a corporation incorporated in _______________ and with a principal place of business in
      _____________.

☐     This party is an unincorporated association or another artificial entity, including a limited liability
      company or limited liability partnership.

                If yes, identify the nature of the entity, the members of the entity and the member’s state of
                citizenship. If any member is other than an individual person, the required information
                identifying ownership interests and citizenship for each sub-member must be provided as well.

☐     This party is a trust.


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              If yes, identify each trustee and each trustee’s state of citizenship. If any trustee is other than
              an individual person, the required information identifying ownership of the non-individual
              trustee and state of citizenship of each sub-trustee must be provided as well.

      PART II

☐     This party is not publicly held and has no parents/subsidiaries, or any other ownership/relationships
      described below.

☐     This party is publicly held.

☐     This party has one or more parent entities.

              If yes, identify all parent entities, including grandparent and great-grandparent entities.

☐     This party has one or more subsidiaries.

              If yes, identify all subsidiaries.

☐     Ten percent or more of the stock of this party is owned by a publicly held corporation or other publicly
      held entity.

              If yes, identify all such owners.

☐     Another association, firm, partnership, corporation, or other artificial entity related to the party—not
      already identified through other answers—has a direct financial interest in the outcome of the
      litigation.

              If yes, identify all associations, firms, partnerships, corporations or other artificial entities and
              the nature of their interest.

☐     This party is a trade association.

              If yes, identify all members of the association, their parent entities, and any publicly held
              companies that own ten percent or more of a member’s stock.

☐     This party is a trust.

              If yes, identify each trustee, their parent entities, and any publicly held companies that own ten
              percent or more of a trustee’s stock.

Any additional pertinent information should also be provided on attached page(s).


Dated this 28th day of August, 2024.




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                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the foregoing was filed

electronically on this 28th day of August, 2024, which will send notification of such filing to those

attorneys of record registered on the CM/ECF system.



                                               /s/ William C. Swallow
                                                William C. Swallow
                                                Admitted Pro Hac Vice




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